Case 2:21-cv-01412-ART-EJY   Document 437-16   Filed 01/06/25   Page 1 of 5




               EXHIBIT I
 2015.06.30 Dance Magazine Article
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:25 PM                                          Document 437-16
                                                                 Trending         Filed 01/06/25
                                                                          Now: #Competitions       Page 2 of 5


    DANCE           DANCE               POINTE                THE DANCE     EVENTS          COLLEGE       NEWSLETTERS
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    Trending Now: #Competitions

                   Candice Thompson



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    June 30, 2015



https://www.dancemagazine.com/trending_now_competitions/#gsc.tab=0                                                      1/7
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:25 PM                                          Document 437-16
                                                                 Trending         Filed 01/06/25
                                                                          Now: #Competitions       Page 3 of 5
    How has the rising popularity of competitions affected the concert dance world?

    Backstage at Youth America Grand Prix finals. Photo by Kyle Froman.

    Showstopper hosts more than 50 events each year. Photo courtesy Showstopper.


    A disembodied voice calls out a number, name, age and title of the dance. Out of the wings
    comes an expert strut of lanky limbs and big pointe-shoed feet as an adolescent dancer
    begins her solo. Maybe it’s Kitri’s sassy Act III variation or perhaps some hypermobile
    contemporary choreography to the latest pop ballad. Either way, the stakes for this young
    dancer are incredibly high: Sitting in the audience alongside nervous parents, tense teachers
    and a table of judges are the artistic directors of major dance companies, who’ve come to
    scout for fresh talent.


    While competitions are certainly not new to the dance world, they are now taken more
    seriously than ever as part of a dancer’s training. It is no longer possible for traditional dance
    schools to turn their noses up at competitions where top ballet and modern companies
    routinely hand out scholarships and contracts—Youth America Grand Prix, for one, estimates
    that over 300 of its alumni are now dancing in 80 companies around the world. More dancers
    from competitions/conventions such as New York City Dance Alliance and JUMP are now
    finding professional homes in companies such as Batsheva Dance Company, Dresden
    Semperoper Ballett, Aszure Barton & Artists and Boston Ballet. Not only are competitions now a
    place for dancers to be seen early in their pre-professional career, these contests are also
    giving concert-dance companies that special something: bold dancers who can do it all.

    YAGP boasts more than 300 alumni dancing for 80 companies worldwide. Photo by Rachel
    Papo for Pointe.


    “These dancers have an indomitable will and a sense to just get out there,” says Ballet West
    artistic director Adam Sklute, who routinely scouts for dancers at The Music Center’s Spotlight
    Awards, YAGP, World Ballet Competition and USA IBC in Jackson. About a quarter of his
    company members have come through competition-dance channels. “I look for young students
    who are fearless and I follow their progression over a number of years.”

    Coached from a young age to perform virtuosic tricks and pushed to command a stage,
    competition dancers tend to exhibit a precocious confidence that sets them apart from

https://www.dancemagazine.com/trending_now_competitions/#gsc.tab=0                                               2/7
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:25 PM                                          Document 437-16
                                                                 Trending         Filed 01/06/25
                                                                          Now: #Competitions       Page 4 of 5
    students who develop in the more traditional dance school format of humbly honing technique
    before performing regularly. “I think a lot of competition dancers come into companies day one
    with verve and fire,” says Desmond Richardson, co-artistic director of Complexions
    Contemporary Ballet, which launched the new Élite Dance Tournament this year in conjunction
    with the Joffrey Ballet School in New York City. Even though former competitors’ stage presence
    can sometimes look exaggerated, Richardson says it’s typically easier for artistic staff to tone
    down dancers’ performance quality rather than turn it up later.

    But how does all of this spirited willfulness work out when it moves into the more understated
    world of a corps de ballet or ensemble? Many young dancers experience a learning curve
    when they have to adjust to working in groups and learning to match their peers instead of
    stealing the show in just one solo. There can sometimes be a culture clash between
    competition dancers and their non-competition peers. After competing at events like Showbiz
    National Talent and LA Dance Magic, Ida Saki remembers feeling somewhat looked down
    upon as a “trickster with no artistry” when she first transferred to a performing arts high school
    where competitions weren’t the norm. However, when she later joined Cedar Lake
    Contemporary Ballet, though she sometimes wished she had more training in strict ballet, she
    often felt she had an advantage with choreographers who saw her as more adventurous
    about taking on foreign movement vocabularies.


    Competitions also seem to promote an exceptional kind of resiliency. Being constantly coached
    for competitions creates dancers who absorb constructive criticism easily—and the judging
    process teaches them early on how subjective dance is as an art form. As Saki learned at a
    young age, “One person may fall in love with you while the person sitting next to them couldn’t
    care less.”

    Dusty Button credits her work ethic today to her time on the circuit. Photo courtesy Button.


    Dusty Button, a Boston Ballet principal who cut her teeth at NYCDA and Showstopper, believes
    her competitive sensibility helped her rise to the top of the ballet company hierarchy unusually
    fast. “It fostered a work ethic in the sense that I believe if you’re going to rehearse, it should be
    at your best 100 percent of the time,” she says. “Otherwise, you slow yourself from progressing.”
    Button is only one example at Boston Ballet: Fellow young principals like Whitney Jensen and
    Jeffrey Cirio also racked up multiple titles before rising through the company’s ranks. It’s an
    unsurprising trend in a company where the rep thrives on thrilling virtuosity.

https://www.dancemagazine.com/trending_now_competitions/#gsc.tab=0                                               3/7
                Case 2:21-cv-01412-ART-EJY
11/20/24, 12:25 PM                                          Document 437-16
                                                                 Trending         Filed 01/06/25
                                                                          Now: #Competitions       Page 5 of 5
    The pitfalls of focusing so much attention on performing a variation for a contest, especially for
    a less experienced student, tend to show up in the details of proper technique. Either because
    of a rush to do advanced steps too soon or out of a desire to absorb so many different styles
    so quickly, the fine-tuning can be overlooked. Teaching ballet for Velocity Dance Convention
    and Competition, Melissa Sandvig, who danced for Milwaukee Ballet and on “So You Think You
    Can Dance,” often sees amazing movers whipping off eight pirouettes, yet finds herself
    focusing on basic technical aspects of a step or transitions between positions. Richardson
    agrees: “They may have no problem with performing, but it’s the transitions, passing through
    fifth, that sometimes is left out.”

    Ida Saki became more adventurous at competitions like LA Dance Magic. Photo courtesy Saki.


    Richardson’s new competition brainchild, Élite Dance Tournament, tries to meld the best of both
    worlds by giving young dancers an opportunity to be seen—and to focus on technical details
    and artistry. In a fashion similar to the Prix de Lausanne, EDT requires contestants to take
    scored master classes that are limited to just 25 students.


    It’s no surprise that aspiring professionals are attracted to the unparalleled exposure offered
    at competitions. “You have to go for it to get noticed now and take risks to get better,” says
    Sandvig. Competitions train young dancers to do just that. But as more and more come through
    this route, the trick will be converting so many standout dancers into members of an
    aesthetically coherent ensemble, rather than a band of solo artists sparring for the spotlight. n

    A former dancer, Candice Thompson is a frequent contributor to Dance Magazine.



     BOSTON BALLET           DESMOND RICHARDSON                DUSTY BUTTON    JEFFREY CIRIO

     SO YOU THINK YOU CAN DANCE                 WHITNEY JENSEN       YOUTH AMERICA GRAND PRIX




https://www.dancemagazine.com/trending_now_competitions/#gsc.tab=0                                               4/7
